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                            EXHIBIT 65




                                                                  Appx. 01469
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                   IN THE UNITED STATES BANKRUPTCY COURT
  1                  FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION
  2
                                   )   Case No. 19-34054-sgj-11
  3   In Re:                       )   Chapter 11
                                   )
  4   HIGHLAND CAPITAL             )   Dallas, Texas
      MANAGEMENT, L.P.,            )   Wednesday, December 16, 2020
  5                                )   1:30 p.m. Docket
               Debtor.             )
  6                                )   - MOTION FOR ORDER IMPOSING
                                   )   TEMPORARY RESTRICTIONS [1528]
  7                                )   - DEBTOR'S EMERGENCY MOTION TO
                                   )   QUASH SUBPOENA AND FOR ENTRY
  8                                )   OF PROTECTIVE ORDER [1564,
                                   )   1565]
  9                                )   - JAMES DONDERO'S MOTION FOR
                                   )   ENTRY OF ORDER REQUIRING
 10                                )   NOTICE AND HEARING [1439]
                                   )
 11
                          TRANSCRIPT OF PROCEEDINGS
 12              BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
                       UNITED STATES BANKRUPTCY JUDGE.
 13
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 25




                                                                  Appx. 01470
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                                                                    2

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            Proceedings recorded by electronic sound recording;
 25            transcript produced by transcription service.




                                                                  Appx. 01471
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                                                                          3

     1              DALLAS, TEXAS - DECEMBER 16, 2020 - 1:35 P.M.

     2              THE COURT:    All right.   This is Judge Jernigan.    We

     3   have settings in Highland.       We have -- I guess the very first

     4   thing that we had set today was a motion of Dondero, Mr.

     5   Dondero wanting some sort of revised procedures for "future

     6   estate transactions occurring outside the ordinary course of

     7   business."    Then, related to that, we received the other day

     8   -- I'm not showing it on the calendar, I'm not sure if that

     9   means it's moot now or not, but we had a motion for protective

    10   order and a motion to quash with regard to certain depositions

    11   that Mr. Dondero wanted in connection with his motion.        The

    12   Debtor filed that motion to quash.      It was to quash a

    13   deposition of Mr. Dubel, Mr. Nelms, Mr. Sevilla, and Mr.

    14   Caruso.    And then we have the CLO Motion, what I'm calling the

    15   CLO Motion, of --

    16        (Interruption.)

    17              THE COURT:    Okay.   Let's --

    18              MR. POMERANTZ:   Your Honor, this is Jeff Pomerantz.

    19   The first two motions have been resolved.       And after Your

    20   Honor takes appearances, I'm happy to inform the Court of the

    21   proposed resolution, and there's an agreed order that we would

    22   upload after the hearing.

    23              THE COURT:    Okay.   Well, that is certainly music to

    24   my ears.    All right.   So I was just trying to lay out the

    25   program for what I thought was set, potentially three motions,




                                                                     Appx. 01472
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     1   one of which was a deposition dispute.

     2        All right.   So let's go ahead and get appearances.     Mr.

     3   Pomerantz, you're obviously appearing for the Debtor team.

     4              MR. POMERANTZ:    Yes.   Good morning, Your Honor.    Or

     5   good afternoon, Your Honor.      Jeff Pomerantz; Pachulski Stang

     6   Ziehl & Jones.    Also on the video with me today are John

     7   Morris and Greg Demo.      They will be handling the CLO Motion,

     8   and I will be reporting to the Court on the resolution of Mr.

     9   Dondero's motion and our corollary discovery motions.

    10              THE COURT:    Okay.   All right.   Well, why don't I take

    11   an appearance from Mr. Dondero next.       Mr. Lynn, I see you

    12   there.

    13              MR. LYNN:    Yes, Your Honor.   I am here with Bryan

    14   Assink, who will replace me after the preliminaries when our

    15   business is done.      Other than concurring with Mr. Pomerantz, I

    16   wanted to advise Your Honor that in the last 30 minutes we

    17   filed an additional motion where we're seeking a clarification

    18   with respect to the temporary restraining order that the Court

    19   entered last week.

    20              THE COURT:    All right.   Well, I did see an email from

    21   my courtroom deputy right before walking in about that motion,

    22   and so that's why I was a little surprised and said "Music to

    23   my ears" that there was an agreed order on the Dondero

    24   motions.   But I'll get the details --

    25              MR. LYNN:    Well, we're --




                                                                   Appx. 01473
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     1             THE COURT:    I'll get the details about that in a

     2   minute.   Let me go ahead and get the other appearances.

     3        For the Movants on what I've called the CLO Motion, who do

     4   we have appearing?

     5             MR. WRIGHT:    Good afternoon, Your Honor.    It's James

     6   Wright of K&L Gates for the -- I guess I'll call them the

     7   Movant for this motion.

     8             THE COURT:    Yes.   Sometimes you're referred to as the

     9   Advisors and the Funds and -- but Movants on Docket Entry

    10   1528.

    11        All right.    For the Committee, I know you have weighed in

    12   on a couple of these motions.     Who do we have?

    13             MR. CLEMENTE:    Good afternoon, Your Honor.    Matt

    14   Clemente with Sidley Austin on behalf of the Committee.

    15             THE COURT:    All right.   Well, we have a lot of folks

    16   on the phone.     I think I've covered everybody who filed a

    17   pleading for today.     Is there anyone else who would like to

    18   appear?   I'd really like to restrict it only to those who have

    19   filed pleadings today.

    20             MS. MATSUMURA:    This is Rebecca Matsumura from King &

    21   Spalding representing Highland CLO Funding, Ltd.       I don't

    22   expect I'll be weighing in today, but there are a couple

    23   issues that I may say a sentence on, so I want to go ahead and

    24   make my appearance now.

    25             THE COURT:    All right.   Thank you.   Anyone else?




                                                                   Appx. 01474
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     1              MR. BAIN:    Yes, Your Honor.   Joseph Bain; Jones

     2   Walker; on behalf of the CLO Issuers.

     3              THE COURT:    All right.

     4              MR. BAIN:    And Your Honor, if we may make certain

     5   comments at the requisite time, we'd appreciate it.

     6              THE COURT:    All right.   Thank you.   Anyone else?

     7        All right.   Well, Mr. Pomerantz, let's hear about the

     8   agreements you have on the Dondero-related motions.

     9              MR. POMERANTZ:    Happy to, Your Honor.   And yes, Mr.

    10   Lynn is correct, we saw also an emergency motion that came

    11   through that I'll have a couple of comments at the end of my

    12   presentation.

    13        So, as I mentioned before, Your Honor, I'm pleased to

    14   report that with respect to the two motions that Your Honor

    15   scheduled for today's hearing, we have an agreement with Mr.

    16   Dondero.   One was the motion of Mr. Dondero requiring

    17   transactions out of the ordinary course to be brought before

    18   this Court.   The second was the Debtor's motion to quash a

    19   series of subpoenas that had been issued in the last two days,

    20   requiring board members and others to testify.

    21        As part of the agreement, we have agreed with Mr. Dondero

    22   that his motion, which is presently set for today, shall be

    23   continued to January 4th, which is the same date set as the

    24   continued hearing on the preliminary injunction relating to

    25   the TRO that Your Honor had entered last week.




                                                                   Appx. 01475
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                                                                         7

     1        As part of that agreement, the Debtor has agreed that it

     2   will provide Mr. Dondero with three business days' notice

     3   before selling any non-security assets from any managed funds

     4   accounts through and including January 13th, which is the date

     5   set for confirmation.

     6        While, as the Court is aware, the Debtor doesn't believe

     7   that any notice, opportunity for hearing, or an order from the

     8   Court is required in connection with such transactions, as the

     9   Debtor does not have any current plans to sell non-security

    10   assets from managed funds before confirmation, it was willing

    11   to agree to the notice requirement as essentially a way of

    12   resolving the motion before Your Honor today and continuing

    13   until the 4th.

    14        As part of the agreement as well, Your Honor, the parties

    15   have agreed that there will be no further discovery in

    16   connection with the motion that is set.      That'll be no

    17   additional discovery by Mr. Dondero, so he is withdrawing the

    18   subpoenas as it relates to this motion, and there will be no

    19   further discovery as -- by the Debtor.       As Your Honor, I

    20   think, is aware, there were depositions conducted of both Mr.

    21   Seery and Mr. Dondero on Monday in connection with this

    22   motion, but the discovery will not happen over the next couple

    23   of weeks.

    24        Mr. Dondero wanted to make sure, and the Debtor didn't

    25   have any opposition, that that agreement with respect to no




                                                                   Appx. 01476
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     1   discovery only relates to the pending motion before the Court.

     2   And in connection with any other matters relating to this

     3   bankruptcy case, Mr. Dondero would reserve the right to pursue

     4   discovery, and of course the Debtors would reserve the right

     5   to challenge discovery if we believed it was inappropriate or

     6   unduly burdensome.

     7        With respect to the motion that was just filed, Your

     8   Honor, we had a chance to briefly review it.     We haven't had a

     9   chance to discuss it with the board.    In any event, we don't

    10   think there's an emergency.    Mr. Dondero wants the opportunity

    11   to approach and communicate with the board.     I've told Mr.

    12   Lynn that communications regarding the plan are to go through

    13   Mr. Seery.   Mr. Seery is the Debtor's chief executive officer.

    14   He's the chief restructuring officer.    And at this point, the

    15   board doesn't see a reason or have a desire to meet with Mr.

    16   Dondero to talk about his plan, but, again, would be happy to

    17   receive any written communications that Mr. Dondero has.

    18        Mr. Dondero has sought to modify the TRO to allow him to

    19   speak to the board.   Again, if the board agreed to speak with

    20   Mr. Dondero, that wouldn't violate the TRO, provided that

    21   counsel would be present.   But at this point, the board has

    22   decided that it would be inappropriate and not a good use of

    23   anyone's time to have that communication and that Mr. Dondero

    24   should continue to communicate through Mr. Seery, the Debtor's

    25   chief executive officer.




                                                                  Appx. 01477
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      1        If Your Honor, after reading the motion and hearing my

      2   comments, and I'm sure Judge Lynn's comments that he will make

      3   to Your Honor, Your Honor wants to set it for hearing, we

      4   would submit, Your Honor, there's no emergency and that a

      5   hearing could be set next week, but we would think Your Honor

      6   might be able to dispose of the motion just on the papers and

      7   the limited argument that would go on today.

      8             THE COURT:    All right.

      9             MR. POMERANTZ:    Thank you, Your Honor.

     10             THE COURT:    All right.   Mr. Lynn, first, could you

     11   confirm the terms of the agreed order that Mr. Pomerantz just

     12   announced are consistent with what you and your client

     13   believed was negotiated?

     14             THE CLERK:    He's on mute.

     15             THE COURT:    You're on mute, sir.

     16             MR. LYNN:    Mr. Pomerantz has correctly stated the

     17   agreement of the parties.    I am pleased to advise Your Honor

     18   that I expect that we will withdraw the motion that is

     19   presently pending to be heard on January 4th, since all we

     20   were asking for was notice until confirmation date.     If those

     21   sales are going to take place before then, we don't have a

     22   problem any longer with the pre-confirmation activity of Mr.

     23   Seery.

     24        With regard to the motion that we filed requesting that

     25   the temporary restraining order be modified, we would point




                                                                   Appx. 01478
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      1   out, respectfully, that the independent board is the board of

      2   directors of Strand Advisors.     Strand Advisors belongs to Mr.

      3   Dondero.   It is not unreasonable for the sole stockholder of

      4   Strand Advisors to ask the board questions or present thoughts

      5   to the board or ask its advice.     Mr. Seery, on the other hand,

      6   while being a member of the board of Strand, is the chief

      7   executive officer and the chief restructuring officer of

      8   Highland, which is not the same as Strand.

      9       Furthermore, Your Honor, Mr. Dondero has been attempting

     10   for several months to negotiate an arrangement by which the

     11   Debtor can continue as a going concern.     It is his desire to

     12   discuss further with the board as a whole what he can do in

     13   that regard.   I think the Court, by directing him originally

     14   to participate in the mediation that took place in September,

     15   expected him to do so.      He has attempted to do so.   And while

     16   he has not gotten a response from the Creditors' Committee

     17   that is definitive, he has at least caught the interest of Mr.

     18   Seery, though that interest may have died for a variety of

     19   reasons in recent weeks.

     20       And by the way, next week is fine with us.      We're not in a

     21   hurry beyond that if the Court feels further discussion would

     22   be useful.

     23              MR. POMERANTZ:    Your Honor, just a couple of points

     24   in response.

     25       Mr. Dondero has the right to request an audience with the




                                                                    Appx. 01479
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                                                                        11

      1   board.    He has requested the audience with the board.    The

      2   board has considered it and decided not to communicate in that

      3   fashion with Mr. Dondero at this time.      There is nothing that

      4   Your Honor can do in the TRO that would change that, other

      5   than ordering the board to speak with Mr. Dondero, which I

      6   highly doubt Your Honor would do.

      7          Having said that, this board in general and Mr. Seery in

      8   particular have been very supportive of an overall resolution

      9   to this case, not only with the creditors, but with Mr.

     10   Dondero.    Mr. Seery has spent tens if not hundreds of hours

     11   over the last several months working with Mr. Dondero to try

     12   to get him in a position to present something that would have

     13   traction with the Unsecured Creditors.      Unfortunately, that

     14   hasn't occurred.    We understand there have been communications

     15   between Mr. Lynn and Mr. Clemente.    And if there is any hope

     16   of a plan and any traction with the creditors, this Debtor in

     17   general and Mr. Seery in particular stands ready, willing, and

     18   able to do anything within the Debtor's power to help that

     19   out.

     20          So, it's not really the Debtor standing in the way.    It's

     21   an economic agreement ultimately that needs to be reached with

     22   Mr. Clemente and his constituents and Mr. Lynn.     And if that

     23   can be reached, we will be the first to jump on that bandwagon

     24   and do everything humanly possible to have that occur.

     25          Thank you, Your Honor.




                                                                    Appx. 01480
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      1               THE COURT:    All right.   Well, again, I've not read

      2   the motion.    I've just seen an email that I have this motion.

      3   I'm a little bit confused.      I don't want to spend too long on

      4   this because we have another motion to get to.        But I'm a

      5   little bit confused on how Dondero wants the TRO to be

      6   modified.    If he has the right already to request an audience

      7   of the board, what is it that is problematic about the TRO

      8   that he wants modified?

      9               THE CLERK:    He's on mute.

     10               THE COURT:    You're on mute.

     11               MR. LYNN:    Sorry, Your Honor.    As I told you before,

     12   you must forgive me, my command of technology is not great.

     13        In response, I would say that I question whether it is

     14   appropriate, in advance of a meeting with the board of his

     15   company, that what he wants to talk about should be screened.

     16   And that is what has occurred in our effort to meet by

     17   telephone with the board.

     18        Any such meeting would, of course, be subject to the

     19   restraints that are included in the temporary restraining

     20   order, in that both Mr. Pomerantz or his designee and I would

     21   participate in any such discussion.         I respectfully submit

     22   Strand is his.    Nobody may like that, but it is his, and he

     23   ought to be able to talk to his own board.

     24               THE COURT:    Is this about having a conversation

     25   without the Committee's involvement?        I just don't -- hmm.       I




                                                                      Appx. 01481
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      1   just need to see the motion.

      2       Mr. Clemente, anything you want to add at this juncture?

      3   Have you even reviewed the motion yet?

      4             MR. CLEMENTE:    Your Honor, I apologize.    I haven't

      5   actually even seen the motion.     And so I have no comment on

      6   it, Your Honor.    I apologize for not having been able to look

      7   at it.

      8             THE COURT:    Okay.   Well, what about the agreed order

      9   that's been announced?    Any comment on that?

     10             MR. CLEMENTE:    Your Honor, we support the resolution

     11   that Mr. Pomerantz announced on the record.

     12             THE COURT:    Okay.   All right.   Well, I assume there's

     13   nothing further, then, on the Dondero motions that were

     14   scheduled today?

     15       All right.     So I will happily accept the agreed order that

     16   has been announced.    For now, we will continue the Dondero

     17   motion that was Docket Entry No. 1439 to January 4th, when the

     18   preliminary injunction hearing is set.       And we -- I understand

     19   there are going to be no more discovery requests in connection

     20   with these matters that were set today.

     21       And I will review the motion that Mr. Dondero has filed

     22   shortly before today's hearing in chambers later, and I will

     23   have my courtroom deputy communicate to the lawyers whether I

     24   see fit to set it for an emergency hearing next week or rule

     25   on the pleadings or set it for January 4th.      Those are, I




                                                                    Appx. 01482
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      1   guess, the three possibilities I can think of that I might

      2   decide upon.

      3          So, again, I'm not making any ruling at all on a motion I

      4   haven't read yet.       So I'll -- the courtroom deputy will let

      5   you all know, if not later today, tomorrow.        Probably

      6   tomorrow, because I have a confirmation hearing set later

      7   today in another case.

      8          All right.   So, thank you all for working these issues

      9   out.    And Mr. Pomerantz, Mr. Dondero -- or, excuse me, Mr.

     10   Lynn, anything further on the Dondero disputes?

     11               MR. POMERANTZ:    Nothing from the Debtor, Your Honor.

     12               MR. LYNN:    Your Honor, nothing from Mr. Dondero.      May

     13   I be excused?

     14               THE COURT:    Is anyone anticipating needing Mr.

     15   Dondero's counsel for the other matter?        All right.   If not,

     16   then I certainly have no problem with you dropping off the

     17   line, Mr. Lynn.     Thank you.

     18               MR. LYNN:    Thank you, Your Honor.

     19               THE COURT:    Okay.   All right.   So let's turn next to

     20   the CLO Motion.     I take it there are no agreements on this

     21   one?

     22               MR. POMERANTZ:    There are not, Your Honor.

     23               MR. WRIGHT:    There are not, Your Honor.    I can

     24   confirm that.

     25               THE COURT:    All right.   Mr. Wright, do you have




                                                                        Appx. 01483
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      1   anything you want to say as far as an opening statement before

      2   we go to the evidence?

      3             MR. WRIGHT:    I don't, Your Honor.    My intention, if

      4   it's okay with you, you asked me to bring a witness, so I do

      5   have Mr. Norris from my client, and I was going to just remind

      6   the Court who I am and state the name of all of my Movants,

      7   and then I was going to move directly to put him on the stand

      8   and go through a brief direct.

      9             THE COURT:    All right.    I think I heard Mr. Morris is

     10   going to handle this phase of the hearing.

     11             MR. DEMO:    And Your Honor, this is Greg Demo from

     12   Pachulski on behalf of the Debtor.

     13             THE COURT:    Oh, okay.

     14             MR. DEMO:    We would like to make a brief opening

     15   statement before we have witnesses, if that's all right with

     16   Your Honor.

     17             THE COURT:    All right.    I'm fine with that.    So, --

     18             MR. DEMO:    All right.

     19             THE COURT:    -- go ahead.

     20             MR. DEMO:    All right.    Well, thank you, Your Honor.

     21   Again, Greg Demo; Pachulski Stang; on behalf of the Debtor.

     22       We are here today on what really amounts to the third of

     23   three motions that deal with Mr. Dondero's attempts, either

     24   directly or through a proxy, to transfer control away from the

     25   Debtor and back to Mr. Dondero.




                                                                      Appx. 01484
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      1        The current motion is filed by NexPoint Capital and

      2   Highland Capital Management Fund Advisors and three of their

      3   managed funds:   Highland Income Fund, NexPoint Capital, and

      4   NexPoint Strategic Opportunities Funds.

      5        Mr. Dondero owns and controls NexPoint Capital and

      6   Highland Capital Management Fund Advisors.     While both

      7   NexPoint Capital and Highland Capital Management Fund Advisors

      8   are governed by boards, the boards have no investment

      9   authority with respect to the funds they manage, nor was the

     10   boards' approval necessary to file the motion, or obtained.

     11        Mr. Dondero is the sole portfolio manager for NexPoint

     12   Strategic Opportunities Fund and Highland Income Fund.      Mr.

     13   Dondero is one of three portfolio managers for NexPoint

     14   Capital.   Mr. Dondero's decisions are not subject to

     15   oversight.

     16        The Movants disclosed these facts in their recent SEC

     17   filings, and there can be no dispute that Mr. Dondero is the

     18   controlling figure behind the Movants in the relief being

     19   sought in the motion which seeks to impede the Debtor's

     20   efforts to exercise its rights as a CLO manager.

     21        The fact that this motion was even filed is quite

     22   surprising, since on December 7th the Debtor filed a complaint

     23   and TRO based upon Mr. Dondero's unlawful efforts to frustrate

     24   the Debtor's efforts to sell assets from the very CLOs that

     25   are the subject of this motion.




                                                                   Appx. 01485
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      1       The Court granted the TRO on December 10th.      Mr. Dondero

      2   also filed a motion seeking similar relief in November, which

      3   has now been adjourned to January 4th.

      4       The Movants are essentially now seeking an order from this

      5   Court enjoining the Debtor from exercising its rights as a CLO

      6   manager and requiring the Debtor to seek the Movants' and Mr.

      7   Dondero's permission to fulfill its obligations as a manager

      8   for the CLOs.

      9       The Movants, however, do not come right out and say this,

     10   and instead couch the motion as seeking to simply pause the

     11   CLOs' asset sales while the Movants and the Debtor engage in

     12   discussions regarding the future of the CLOs' management.

     13       In the motion, the Movants also argue the Debtor has made

     14   decisions detrimental to the interests of the preference

     15   shareholders because the Debtor is trying to monetize its

     16   assets in a manner inconsistent with the preference shares'

     17   objectives.

     18       The Movants simply mischaracterize the facts, the parties'

     19   respective rights under contracts, and the law.

     20       First, to the extent the Movants hold interests, they hold

     21   only preference shares in the CLOs and are minority investors

     22   in the preference shares of 12 of the 15 CLOs at issue.      In

     23   one third of the CLOs, the Movants' interests sit behind

     24   senior debt which must be paid first.

     25       Notably, Your Honor, no other investors in the CLOs are




                                                                   Appx. 01486
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                                                                       18

      1   here or have expressed support for the Movants' position.

      2       Second, the Movants simply have no right under the

      3   contracts governing the CLOs to the relief they are

      4   requesting.    The CLOs are governed by a series of agreements

      5   which were agreed to long ago and dictate the rights of all

      6   investors of the CLOs.    The enforceability of those agreements

      7   is relied on by all investors, not just the Movants.

      8       Under these agreements, investment discretion is given to

      9   the CLOs' manager -- in this case, the Debtor -- and no

     10   investor has the right to direct the CLO manager.     The manager

     11   was chosen to manage the CLOs' assets.      No individual investor

     12   was chosen to manage the CLOs' assets.

     13       Simply said, there will be no evidence that the Movants

     14   have the right to do what they're trying to do, and there will

     15   be no evidence that the Movants' preferences with respect to

     16   the CLOs' assets is in line with that of the other investors

     17   in the CLOs.

     18       Under the relevant agreements, if an investor is not happy

     19   with a manager's performance, the investor's rights are

     20   generally limited to replacing the manager.     The investors

     21   here -- excuse me, the Movants here -- have not done that and

     22   cannot do that.    Under the agreements, replacement requires at

     23   least the majority of the preference shares that are not

     24   affiliates of the managers.   In 12 of the 15 CLOs, the Movants

     25   hold a substantial minority interest position.     They are not




                                                                   Appx. 01487
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      1   the majority.   In the three CLOs in which they are the

      2   majority, the Movants still cannot replace the Debtor as the

      3   investment manager because they are the Debtor's affiliates.

      4       It is indisputable that, prior to January 9th, when Mr.

      5   Dondero was removed from control of the Debtor, that the

      6   Debtor, NexPoint Advisors, Highland Capital Management Fund

      7   Advisors, and the three funds were the Debtor's affiliates

      8   because of Mr. Dondero's common control.

      9       After January 9th, where the Court removed Mr. Dondero

     10   from control of the Debtor, the Debtor is arguably, under the

     11   documents, not an affiliate.   However, Your Honor, the Movants

     12   have disclosed in their recent proxy statements filed in 2020

     13   that they still consider themselves the Debtor's affiliate,

     14   and they should be bound by that statement.     The Movants, by

     15   virtue of Mr. Dondero's being removed from control of the

     16   Debtor, should not be able to use that removal to reassert

     17   control over the CLOs that were taken away from Mr. Dondero

     18   when he was removed in January 2020.

     19       The Debtor believes that additional briefing may be needed

     20   on this issue, and that a ruling specifically on this issue

     21   and the parties' relative rights under the CLO management

     22   agreements may be needed.   The Debtor reserves its right to

     23   brief this issue and to bring it before this Court, either as

     24   a declaratory judgment or any other procedurally-appropriate

     25   motion.




                                                                   Appx. 01488
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                                                                         20

      1        Because the Debtor -- excuse me.   The Movants have no

      2   right to the relief requested.    They argue that the relief is

      3   justified because of the mismatch between the investors'

      4   timelines and the Movants'.   This is not true.    The Movants

      5   cite to three transactions to justify their statement in the

      6   motion:   SSP, OmniMax, and certain recent transactions.

      7        The recent transactions were the attempted sales of two

      8   public equities immediately before Thanksgiving that Mr.

      9   Dondero interfered with.    You'll hear testimony from Mr. Seery

     10   about each of these transactions and how each was in the best

     11   interest of the CLOs.

     12        First, SSP.   SSP is a steel business that was suffering

     13   for a number of reasons.    The Debtor's investment team

     14   believed SSP should be sold since 2019.     The Debtor received

     15   multiple offers for SSP, the Debtor evaluated these offers,

     16   and the Debtor choose the one that was the best.     The SSP sale

     17   closed in early November.

     18        Notably, Your Honor, none of the CLOs held an equity

     19   interest in SSP, its parent, or in Trussway.     Instead, they

     20   held debt, and they got exactly what they bargained for,

     21   repayment of their debt obligations in full.

     22        OmniMax, Your Honor, is the second one.     It is a

     23   fabricator of building materials.    The CLOs and the Movants

     24   held an interest in OmniMax debt which they have been trying

     25   to refinance or equitize since 2019.    That deal was intended




                                                                     Appx. 01489
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                                                                         21

      1   to include the Movants, but instead of working with the

      2   Debtor, Mr. Dondero held out and used the threat of litigation

      3   against OmniMax to secure a higher price for the Movants, to

      4   the detriment of the CLOs.

      5       As Mr. Seery will testify, these two transactions were all

      6   about maximizing value and have nothing to do with investment

      7   timelines.

      8       Finally, Your Honor, the Movants reference the

      9   Thanksgiving transactions.   These transactions were discussed

     10   in the context of Mr. Dondero's TRO.    Mr. Seery directed

     11   Debtor personnel, on the advice of his investment team, to

     12   sell these securities.   Mr. Dondero blocked those trades.       Now

     13   the Movants argue that the reason those trades were blocked

     14   was because of a mismatch between the Movants' and the

     15   Debtor's investment timelines.    That is not the case.    Mr.

     16   Seery will testify as to these trades.      The Debtor is an

     17   investment manager and appreciates that its decisions with

     18   respect to how it manages its assets are -- is a judgment

     19   call.   The evidence, however, will show that the Debtor at all

     20   times exercised that judgment in good faith based on all

     21   available information.

     22       The Movants may disagree with the Debtor's judgment, Your

     23   Honor, but that is irrelevant.    The Movants have no right to

     24   interfere with the Debtor's management of the CLOs.     There is

     25   simply no statutory or contractual basis for this, not under




                                                                    Appx. 01490
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                                                                         22

     1   Section 363 and not under the CLO agreements.

     2        Finally, Your Honor, -- I guess not finally.     There's one

     3   more point I want to make.     But Your Honor, this -- what we're

     4   here on today is notably similar to the Acis bankruptcy that

     5   Your Honor noted last time we were here last week.      In that

     6   bankruptcy, HCLOF tried to direct the collateral manager to

     7   take certain actions that HCLOF thought were in the best

     8   interest of the CLOs.     In this case, the Movants, through Mr.

     9   Dondero, are trying to file an action that functionally seeks

    10   to direct the Debtor to take interests that the Movants

    11   believe are in their best interest.      There is substantial

    12   overlap between the litigation in Acis and the litigation

    13   here.

    14        Finally, Your Honor, the Debtor has been in discussions

    15   with the CLOs' counsel on this issue.      And the Debtor has been

    16   informed that the CLOs' position is that the Debtor's ability

    17   to operate under the management agreements should not be

    18   interfered with, not by the Movants or not by any other party.

    19        Thank you, Your Honor.    With that, I will turn it over to

    20   Mr. Norris.   Or, I'm sorry, Mr. Wright.

    21              THE COURT:    All right.   Mr. Wright, you may call your

    22   witness.

    23              MR. WRIGHT:   All right, Your Honor.   Dustin Norris

    24   should be -- should be dialed in and should be available on

    25   screens.




                                                                   Appx. 01491
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                                  Norris - Direct                          23

      1             THE COURT:    Okay.   I'm going to --

      2             MR. WRIGHT:   I'll pause and have him confirm that.

      3             THE COURT:    I'm going to ask you, Mr. Wright, to

      4   speak up or closer to your device.        I didn't hear the name of

      5   your witness.

      6             MR. WRIGHT:   Sure.    Sorry.    It's Dustin Norris.   I --

      7   last time, you were having trouble hearing me, and so I'm

      8   trying a different device this time.       I actually followed the

      9   instructions that I found very helpful, so I'm trying my phone

     10   in hopes that it will work better.

     11             THE COURT:    All right.

     12             MR. WRIGHT:   But, yeah, it's Dustin Norris.      D-U-S-T-

     13   I-N, N-O-R-R -- N-O-R-R-I-S.

     14             THE COURT:    All right.   Mr. Norris, can you say

     15   "Testing one two" so we pick up your video?

     16             MR. NORRIS:   Testing one two.

     17             THE COURT:    All right.

     18             MR. NORRIS:   Testing one two.

     19             THE COURT:    All right.   Please raise your right hand.

     20                DUSTIN NORRIS, MOVANTS' WITNESS, SWORN

     21             THE COURT:    All right.   Mr. Wright, you may proceed.

     22             MR. WRIGHT:   Thank you, Your Honor.

     23                           DIRECT EXAMINATION

     24   BY MR. WRIGHT:

     25   Q   Mr. Norris, you're employed by NexPoint Advisors?




                                                                     Appx. 01492
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                                  Norris - Direct                       24

      1   A   I am.   That's correct.

      2   Q   And what is your title and role there?

      3   A   Yeah.   I am the executive vice president of NexPoint

      4   Advisors.   In that role, I oversee business development,

      5   marketing, sales, investor relations.       And as far as the funds

      6   advised by the advisor, I'm the liaison with the independent

      7   board on the business side.

      8   Q   Thank you.   Do you also have a role for Highland Capital

      9   Management Fund Advisors?

     10   A   I do.   I'm also the same executive vice president and

     11   fulfill that same role as it pertains to business development,

     12   sales, investor relations.    And in both, I'm also working on

     13   product development.    So, launching, developing new products

     14   and investment funds.

     15   Q   Do you also have a role for Highland Income Fund, NexPoint

     16   Strategic Opportunities Fund, and NexPoint Capital, Inc.?

     17   A   I do.   I'm also executive vice president for each of those

     18   funds.

     19   Q   Thank you.   Have you ever served on the boards of these

     20   three funds?

     21   A   I have.    I've served as the interested trustee, sole

     22   interested trustee for each of these funds.      I'm no longer the

     23   board member or interested trustee, but still serve as an

     24   officer, executive vice president, for each fund.

     25   Q   At times, I'm going to refer to NexPoint Advisors, LP and




                                                                    Appx. 01493
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                                  Norris - Direct                      25

      1   Highland Capital Management Fund Advisors, LP simply as the

      2   Advisors, to avoid having to keep saying their long names.

      3   And similarly with the three funds that are part of the

      4   motion, I may just call them the Funds.

      5       Can you explain the relationship between the Advisors and

      6   the Funds, briefly?

      7   A   Yeah.    So, each of these are investment companies that are

      8   registered under the Investment Company Act of 1940.     So, with

      9   that comes a unique relationship between an investment advisor

     10   and the funds themselves.    The Funds don't have employees.

     11   They rely on the investment advisor and investment advisor

     12   employees.   And between the Funds and the Advisors is an

     13   investment advisory agreement.    And the Funds themselves are

     14   also overseen by an independent board, and that's by statute

     15   by the 1940 Act.

     16   Q   Okay.    And just to be clear, when you said that these are

     17   -- entities are investment companies, you meant that the three

     18   Funds are investment companies?

     19   A   Correct.   Correct.   The three Funds are investment

     20   companies.   The investment advisors are not investment

     21   companies.

     22   Q   Thank you.     Can you explain the role of the board for the

     23   Funds?

     24   A   Yeah.    So, as prescribed by the Investment Company Act of

     25   1940, there are certain obligations related to an investment




                                                                   Appx. 01494
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                                   Norris - Direct                      26

      1   company, and one of those is they must be overseen by an

      2   independent board.    And the independent board has a

      3   responsibility to oversee the -- certain material agreements,

      4   including the advisory agreement.    And we meet regularly with

      5   the boards.    They overseas certain processes and, again, all

      6   material contracts.    And the board is, by Section 15(c) of the

      7   1940 Act, required by law to annually review the capabilities

      8   of the Advisor and to either approve or reject the advisory

      9   contracts.    So, each year, those contracts are renewed by the

     10   independent board.

     11        There are certain obligations of the Fund and operations

     12   that are delegated responsibility to the investment advisors.

     13   That includes portfolio management and investment decisions.

     14   But all those are overseen by the board.

     15   Q    Okay.    And are the boards involved in the day-to-day

     16   operations of the Funds?

     17   A    They're not.

     18   Q    Okay.    And do you know who the members of the boards of

     19   these three Funds are?

     20   A    I do.

     21   Q    Could you share that with us?

     22   A    Yeah.    So, the -- there is one interested trustee of each

     23   board, and that's John Honis.    And then for the Highland

     24   Income Fund and the NexPoint Strategic Opportunities Fund --

     25   sorry, for NexPoint -- for Highland Income Fund and NexPoint




                                                                   Appx. 01495
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                                 Norris - Direct                         27

      1   Capital, we have the same three disinterested or independent

      2   trustees, and that's Bryan Ward, Dr. Bob Froehlich, and Ethan

      3   Powell.   And for NexPoint Strategic Opportunities Fund, we

      4   have the same four trustees, one interested, three

      5   independent, but there's another fourth independent trustee,

      6   Ed Constantino.

      7   Q   And when you refer to independent trustees, do you mean

      8   independent for purposes of the Investment Company Act of

      9   1940, as amended?

     10   A   That's correct.   They, by statute, they are independent

     11   trustees.   They also have an independent legal counsel.     Stacy

     12   Louizos represents them from Blank Rome.     And also two of

     13   these Funds are listed on the New York Stock Exchange, and the

     14   New York Stock Exchange has various independence requirements

     15   that each independent director has met.

     16   Q   Thank you.    And which are the two Funds that are listed on

     17   NYSE?

     18   A   The Highland Income Fund and the NexPoint Strategic

     19   Opportunities Fund are both NYSE-listed.

     20   Q   And I know you probably haven't memorized everybody who

     21   invests in the Funds, but can you give us a general idea of

     22   who invests in these Funds?

     23   A   Certainly.    I definitely have not memorized them.    There

     24   are thousands of individual investors in each of these Funds.

     25   Part of my role overseeing investor relations and sales, I do




                                                                   Appx. 01496
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                                    Norris - Direct                      28

      1   talk to a lot of those investors.     But the majority of the

      2   investors in each of these Funds are individual investors.

      3       As '40 Act Funds, almost anybody with a brokerage account

      4   can buy them.    They have tickers, particularly the Funds that

      5   are listed.    Closed-end funds.   And so, with that, it is mom-

      6   and-pop investors.      It's retail investors,   including myself.

      7   I've allocated my 401(k) to these funds, the majority of my

      8   401(k) to these funds.      But there are also institutional

      9   investors.    There's hedge funds.   There's ETFs.   There are

    10    large high-net-worth individuals.     But the majority of it is

    11    individual investors that have invested through their

    12    brokerage firms, be it Wells Fargo, Morgan Stanley, or Cetera.

    13    These are -- these are -- these are the individual investors.

    14    Q   Thank you.    Does Mr. Dondero have investments in the

    15    Funds?   Do you know?

    16    A   He does.    He's invested in each of the Funds.

    17    Q   Does he have a majority investment in any of the Funds?

    18    A   He does not have a majority investment in any of the

    19    Funds.

    20    Q   Thank you.    Does Mr. Dondero have a control relationship

    21    with the two Advisors?

    22    A   Yes.     He does.   With the Advisors.

    23    Q   And does he have a control relationship with the Funds?

    24    A   As it pertains to portfolio management, he is a portfolio

    25    manager of each Fund.     But as discussed, as I mentioned, the




                                                                    Appx. 01497
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                                     Norris - Direct                    29

      1   independent board on an annual basis has the ability to

      2   terminate or renew our advisory contracts, and that -- that

      3   dynamic removes the control, overall control, of the Funds in

      4   that regard.

      5   Q   Are you familiar with the motion that the Court I think

      6   has accurately referred to as the CLO Motion that was filed by

      7   the two Advisors and the three Funds?

      8   A   Yes.    I am familiar with it.

      9   Q   And I'm going to ask you a question now that I think is of

     10   interest to the Court, based on the last time I was in front

     11   of Judge Jernigan.    Were any employees of the Debtor involved

     12   in deciding to bring this motion or in preparing the motion?

     13   A   No.    None of the HCMLP employees, to my knowledge, were

     14   involved in preparing or deciding to bring the motion.

     15   Q   Okay.    And you investigated who was involved in preparing

     16   the motion, so your knowledge is pretty good on this point?

     17   A   Correct.     I have.   And none were involved, based on that

     18   investigation.

     19   Q   (garbled) involved in deciding to bring a motion,

     20   preparing it, other than outside counsel and my firm?

     21   A   Yeah.    So, the initial cause for concern was raised by Mr.

     22   Dondero himself to our legal -- internal legal team and

     23   compliance team.    And working together with them, myself, and

     24   outside counsel, and senior management of Highland Capital

     25   Management Fund Advisors, including Joe Sowin, we prepared the




                                                                    Appx. 01498
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                                   Norris - Direct                        30

      1   order.    Or, sorry, not the order, the motion.

      2   Q   All right.     Thank you.    Were the boards of the three Funds

      3   involved at all with bringing the motion?

      4   A   They were not involved in the preparation of the motion

      5   itself.   They were aware and supportive, but they did not

      6   prepare the motion.

      7   Q   You provided a (audio gap), correct?

      8   A   Sorry.    You did cut out there.      I didn't hear the

      9   question.

     10   Q   I'll try again.      You provided a declaration (garbled)

     11   motion, correct?

     12   A   I did, yes.

     13   Q   And there are two exhibits to your declaration.        There's

     14   an Exhibit A and an Exhibit B.

     15   A   Correct.

     16   Q   Exhibit A, does this reflect the current repayment status

     17   of the various CLOs as we -- as you understand it to be as of

     18   December 1st?

     19   A   Yes, it does.

     20   Q   And does Exhibit (garbled) of the three Funds --

     21               THE COURT:   Okay.   Mr. --

     22   BY MR. WRIGHT:

     23   Q   -- and the various CLOs, --

     24               THE COURT:   Mr. Wright?

     25   BY MR. WRIGHT:




                                                                     Appx. 01499
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                                    Norris - Direct                       31

      1   Q   -- as you understand it?

      2              THE COURT:    Mr. Wright, time out.   Two things.

      3   First, I don't know what you can do to improve --

      4              MR. WRIGHT:    Sure.

      5              THE COURT:    -- your connection, but you're

      6   occasionally breaking up a little.

      7       But second, can we be clear for myself, the record,

      8   everyone else, what you're referring to right now?        We have an

      9   Advis... your witness and exhibit list is at Docket 1573.        Is

    10    that what I should be looking at first?

    11               MR. WRIGHT:    Yes, Your Honor.   The declaration of Mr.

    12    Norris.   It's Docket 1522-1.      And it's on our exhibit list.

    13    It may be the only exhibit on our exhibit list, frankly.

    14               THE COURT:    Okay.    So you're talking about his

    15    declaration now, not the witness and exhibit list with the

    16    attachments to it?      Actually, it is attached here.    Exhibit A.

    17    Okay.    I'm there.   I went to Exhibit A in your attachments to

    18    your exhibit list at 1573.

    19        All right.    Let's try again with your question you just

    20    asked.

    21               MR. WRIGHT:    Sure.

    22    BY MR. WRIGHT:

    23    Q   So, Mr. Norris, Exhibit A, this reflects the current

    24    repayment status of the CLOs that are the subject of the

    25    motion as of December 1.     Correct?




                                                                     Appx. 01500
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                                    Norris - Direct                           32

      1   A   Correct.

      2   Q   And then --

      3               MR. WRIGHT:   Your Honor, if you turn to Exhibit B,

      4   which is just a couple pages forward.

      5               MR. MORRIS:   Your Honor, I would ask that this be put

      6   up on the screen, if possible.

      7               THE COURT:    Yes.    Can you do that, please?

      8               MR. WRIGHT:   I'm sorry.    I couldn't hear that, John.

      9               THE COURT:    He asked if you could --

     10               MR. MORRIS:   I would --

     11               THE COURT:    -- share your screen.    Can you share your

     12   screen as to what you're looking at?

     13               MR. WRIGHT:   Can I share my screen?     Last time I was

     14   using a computer and you were having trouble hearing me, so

     15   this time I'm doing it on my phone.        So my phone, no, I don't

     16   have this on my phone to share my screen that way.           It's

     17   Docket 1522-1, and it's the only exhibit that was on our

     18   exhibit list.

     19               MR. MORRIS:   No objection, Your Honor.

     20               MR. WRIGHT:   All it shows is the holdings in Funds in

     21   the CLOs.    That's all it is.

     22               MR. MORRIS:   No objection, Your Honor.

     23               THE COURT:    Okay.

     24               MR. NORRIS:   I'm sorry, John.    I didn't hear.

     25               THE COURT:    Give me a minute, because I was at 1573,




                                                                        Appx. 01501
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                                  Norris - Direct                         33

     1   your witness and exhibit list.

     2        (Pause.)

     3             THE COURT:    Okay.    That's not the correct docket

     4   number.

     5             MR. MORRIS:    Your Honor?

     6             THE COURT:    Yes?

     7             MR. MORRIS:    If I may, it's John -- it's John Morris.

     8   It's Docket No. 1528.    And the declaration can be found at

     9   Page 12 of 26.

    10             MR. WRIGHT:    Thank you.

    11             THE COURT:    1528?

    12             MR. WRIGHT:    That's bizarre, because I have a

    13   printout of it and it says Docket 1522-1.

    14             THE COURT:    Okay.    1528 is the -- the actual motion

    15   we've set for hearing.

    16             MR. MORRIS:    And it's attached to that, yes.       If you

    17   -- if you go to PDF Page 12, it's the first page of the

    18   declaration.

    19             THE COURT:    Okay.    I'm there now.   Okay.   So we're on

    20   that declaration.   And then you were having the witness look

    21   first at Exhibit A to that declaration.      And then where are

    22   you having him look next?       Exhibit B, which is entitled

    23   "Holdings of Preferred Shares in CLOs"?

    24             MR. WRIGHT:    Exhibit B, Your Honor.

    25             THE COURT:    Okay.    Continue.




                                                                     Appx. 01502
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                                    Norris - Direct                         34

      1               MR. WRIGHT:    (garbled) I think some of the exhibits

      2   that I have had the wrong docket number printed on the top,

      3   and I --

      4   BY MR. WRIGHT:

      5   Q   Exhibit B.    So, Mr. Norris, Exhibit B to your declaration

      6   shows the holdings of the preference shares of the Funds in

      7   the various CLOs that are the subject of the motion, correct?

      8   A   That's correct.       One clarification.   It shows the

      9   percentage ownership of each of those preference share

     10   tranches that each Fund owns.

     11   Q   Thank you.    Mr. Norris, do the three Funds have a date by

     12   which they have to liquidate their investments?

     13   A   Sorry, you did skip out there.      If you could you repeat

     14   the question.    I apologize.

     15   Q   It's frustrating.      Do the three Funds have a date by which

     16   they must liquidate their investments?

     17   A   No.    They do not.

     18   Q   Okay.    Can you briefly explain why the Advisors and the

     19   Funds brought this motion?

     20   A   Yeah.    The Advisors and the Funds were concerned with

     21   certain transactions, as described in the motion.        As

     22   preference share owners, we own the majority or a substantial

     23   portion of the economics of most of these CLOs, and in three

     24   instances the majority of the economic benefit.        And there was

     25   concern with the way that the sales were executed.        And so,




                                                                        Appx. 01503
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                                   Norris - Cross                         35

      1   with that, we're simply asking for a temporary relief in order

      2   to benefit and to maximize the recovery for our preference

      3   shares that we own.

      4   Q    Thank you.

      5             MR. WRIGHT:    All right, Your Honor.    I have no

      6   further questions for Mr. Norris, although I guess I reserve

      7   the right to redirect.

      8             THE COURT:    All right.   Cross-examination?

      9             MR. MORRIS:    Thank you, Your Honor.

     10                            CROSS-EXAMINATION

     11   BY MR. MORRIS:

     12   Q    Good afternoon, Mr. Norris.     Can you hear me?

     13   A    I can.   Thank you, Mr. Morris.

     14   Q    All right.   I'm going to go into a little bit more detail

     15   about some of the topics that you discussed.      To be clear

     16   here, there are five moving parties; is that right?

     17   A    That's correct.    The two Advisors and the three Funds.

     18   Q    And one of the advisory firms is Highland Capital

     19   Management Fund Advisors, LP; is that right?

     20   A    That's correct.

     21   Q    And I'll refer to that as Fund Advisors; is that okay?

     22   A    That's great.

     23   Q    James Dondero and Mark Okada are the beneficial owners of

     24   Fund Advisors, correct?

     25   A    That is my understanding, yes.




                                                                    Appx. 01504
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                                   Norris - Cross                      36

      1   Q   And your understanding is that Mr. Dondero controls Fund

      2   Advisors, correct?

      3   A   That's correct.

      4   Q   And the other advisory firm that brought the motion is

      5   NexPoint Advisors, LP; is that right?

      6   A   That is correct.

      7   Q   And Mr. Dondero is the beneficial owner of NexPoint; is

      8   that right?

      9   A   A family trust where Jim is the sole beneficiary, I

     10   believe, controls or owns NexPoint Advisors.

     11   Q   Okay.     And Mr. Dondero --

     12   A   Or 99.9 percent of NexPoint Advisors.

     13   Q   Thank you for the clarification.      Mr. Dondero controls

     14   NexPoint; is that right?

     15   A   Correct.

     16   Q   All right.    And I'm going to refer to Fund Advisors and

     17   NexPoint as the Advisors going forward; is that fair?

     18   A   That's fair.

     19   Q   Each of the Advisors manages certain funds; is that right?

     20   A   That is correct.

     21   Q   And three of those funds that are managed by the Advisors

     22   are the Movants on this motion, correct?

     23   A   Correct.

     24   Q   All right.    The Advisors caused these three Funds to

     25   invest in CLOs that are managed by the Debtor; is that right?




                                                                   Appx. 01505
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                                   Norris - Cross                       37

      1   A   The portfolio managers working for the Advisors did.

      2   That's correct.

      3   Q   And Mr. Dondero is the portfolio manager of the Highland

      4   Income Fund; is that right?

      5   A   He is one of the portfolio managers for that Fund.

      6   Q   And he's also --

      7   A   I believe there are two.

      8   Q   And he's also a portfolio manager of NexPoint Capital,

      9   Inc., one of the Movants here, right?

     10   A   That is correct.

     11   Q   And he's also the portfolio manager of NexPoint Strategic

     12   Opportunities Fund, another Movant; is that right?

     13   A   Yes.    That is correct.

     14   Q   Okay.    And I think you testified earlier that each of

     15   these Funds has a board.   Is that right?

     16   A   That is correct.

     17   Q   But the boards don't make investment decisions for the

     18   Funds, do they?

     19   A   They do not.   They have delegated that authority.

     20   Q   And that authority to make investment decisions is

     21   delegated to the Advisors; is that right?

     22   A   Yes.

     23   Q   Okay.    And none of the boards of the Funds who are Movants

     24   here adopted any resolution authorizing the Funds to file this

     25   motion; is that right?




                                                                   Appx. 01506
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                                   Norris - Cross                        38

      1   A   To my knowledge, that is correct.

      2   Q   And in fact, the boards were not required to approve the

      3   filing of this motion, correct?

      4   A   I'm not -- I believe that's a legal question, but to my

      5   knowledge, there was not a requirement of the board to -- or,

      6   to adopt a resolution for that.

      7   Q   Okay.     Let's talk a little bit about your background.    I

      8   think you testified that you're the executive vice president

      9   at NexPoint Advisors, one of the Movants.     Is that right?

     10   A   That's right.

     11   Q   Who's the president of NexPoint Advisors, LP?

     12   A   Mr. Dondero.

     13   Q   And you report directly to him; is that right?

     14   A   I do.

     15   Q   You're also the executive vice president of Fund Advisors,

     16   another Movant; is that right?

     17   A   Correct.

     18   Q   And Mr. Dondero is the president of Fund Advisors; is that

     19   right?

     20   A   He is not.    There is no president of Fund Advisors.      But

     21   he -- yeah.

     22   Q   You're the president of another entity called NexPoint

     23   Securities; is that right?

     24   A   That's correct.

     25   Q   And you're also the executive vice president of the 11 or




                                                                   Appx. 01507
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                                     Norris - Cross                       39

      1   12 funds that are managed by the Advisors here, right?

      2   A   Yes.     That is correct.

      3   Q   Okay.     You've been working for Highland Capital Management

      4   or other Highland-related entities for a little more than a

      5   decade; is that right?

      6   A   That's correct.       Since June 2010.

      7   Q   Okay.     Now, you don't personally make any investment

      8   decisions for -- for the Funds.      Is that right?

      9   A   That's correct.

     10   Q   And you don't hold yourself out as an investment manager,

     11   do you?

     12   A   I do not.

     13   Q   And you've never worked for a CLO, have you?

     14   A   Never worked for a -- for a C -- employed by a CLO.

     15   Worked on accounting, various other aspects, but never worked

     16   for a CLO.

     17   Q   Okay.     You referred earlier to the declaration that you've

     18   submitted in support of the motion.      Do you remember that?

     19   A   I do.

     20   Q   I've got an assistant on the line here.

     21               MR. MORRIS:    Ms. Cantey, can we put up onto the

     22   screen Debtor's Exhibit C, which I believe was Mr. Norris's

     23   declaration?    And if we could go to Page 12 of 26.    Oh, all

     24   right.

     25   BY MR. MORRIS:




                                                                    Appx. 01508
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                                  Norris - Cross                       40

      1   Q   And, again, Mr. Norris, as we did in the deposition

      2   yesterday, I'll remind you of the difficulty of doing a

      3   virtual examination.   And if at any time I ask you a question

      4   about your declaration that prompts you to think you need to

      5   see another portion of the declaration, will you let me know

      6   that?

      7   A   Yes, I will.

      8   Q   Okay.   Because I'm not here to test your memory.     I'm just

      9   here to ask you certain questions.    So please let me know if

     10   you need to see something that's not on the screen itself.

     11       You didn't write any portion of this declaration; is that

     12   right?

     13   A   I did not.

     14   Q   And you didn't provide any substantive comments to the

     15   declaration as drafted because you agreed with -- with the

     16   declaration as written by others; is that fair?

     17   A   Correct.

     18   Q   And all of the key information in your declaration was

     19   supplied by NexPoint's management; isn't that right?

     20   A   Correct.

     21   Q   The individuals who provided the information that's in

     22   your declaration include D.C. Sauter, Jason Post, Mr. Dondero,

     23   and outside counsel at K&L Gates; is that right?

     24   A   Correct.

     25   Q   And Mr. Sauter is in-house counsel at the Advisors; is




                                                                   Appx. 01509
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                                    Norris - Cross                      41

      1   that right?

      2   A   That is right.

      3   Q   And Mr. Post is the chief compliance officer at NexPoint;

      4   is that right?

      5   A   That's correct.

      6   Q   The whole idea for this motion initiated with Mr. Dondero;

      7   isn't that right?

      8   A   The concern, yes, the concern originated, and his concern

      9   was voiced to our legal and compliance team.

     10   Q   Okay.

     11               MR. MORRIS:   Can we take the declaration down for --

     12   oh, actually, no, I'm sorry, leave it there, and let's talk

     13   about Exhibit B.    Now we can all see it.    If you can scroll

     14   down to Exhibit B, please.     Okay.

     15   BY MR. MORRIS:

     16   Q   This page is attached to your declaration, right?

     17   A   That's correct.

     18   Q   And this page is intended to show the percentage of

     19   preferred shares owned by each of the Movant Funds and the 15

     20   different CLOs, right?

     21   A   That's right.

     22   Q   And the Debtor is the portfolio manager for each of these

     23   CLOs; is that right?

     24   A   Yes.

     25   Q   And it's your understanding that the Debtor's management




                                                                    Appx. 01510
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                                  Norris - Cross                       42

      1   of the CLOs on this page is governed by written agreements

      2   between the Debtor and each of the CLOs, right?

      3   A   Yes.

      4   Q   None of the Movants are parties to the agreements between

      5   the Debtor and each of the CLOs pursuant to which the Debtor

      6   serves as portfolio manager; is that correct?

      7   A   I believe that is correct.    One, I think, important --

      8   even though they're not subject to the agreement, they are the

      9   -- they have the economic ownership of each of these CLOs.

     10   Q   But they're not party to the agreement; is that right?

     11   A   Not that I'm aware of.

     12   Q   Okay.    And in preparing for this motion and preparing for

     13   your testimony, you didn't personally review any of the

     14   agreements between the Debtor and any of the CLOs listed on

     15   this page, right?

     16   A   No.    I relied on legal counsel for that review.

     17   Q   Okay.    And, but even though you didn't review the

     18   agreements, it's your understanding that among the

     19   responsibilities that the Debtor has as the portfolio manager

     20   is buying and selling assets on behalf of the CLOs; is that

     21   right?

     22   A   Yes.    And I believe I specifically stated in my statement,

     23   if you want to turn to it, what I (audio gap) to regarding the

     24   CLOs' duties under the agreements.

     25   Q   Okay.    It's your understanding, in fact, that nobody other




                                                                   Appx. 01511
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                                   Norris - Cross                        43

      1   than the Debtor has the right or the authority to buy and sell

      2   assets on behalf of the CLOs listed on Exhibit B, correct?

      3   A   That's my understanding.

      4   Q   Okay.     And it's also your understanding, your specific

      5   understanding, that holders of preferred shares do not make

      6   investment decisions on behalf of the CLO; is that right?

      7   A   Correct.

      8   Q   And that's something that the Advisors knew when they

      9   decided to invest in the CLOs on behalf of the Movant Funds;

     10   is that fair?

     11   A   That's right.    And at that time, the knowledge in the

     12   purchase was with Highland Capital Management, LP and the

     13   portfolio management team at that time.

     14   Q   And it's still with Highland Capital Management, LP; isn't

     15   that right?

     16   A   That's correct.    I'm not sure that the portfolio

     17   management team looks the same, but it was HCMLP.

     18   Q   Okay.     Let's just look at this document for a second.    The

     19   first column has the list of the CLOs in which the Movant

     20   Funds have invested; is that right?

     21   A   Correct.

     22   Q   And the second column, HIF, that stands for Highland

     23   Income Fund; is that right?

     24   A   Yes, sir.

     25   Q   And Highland Income Fund is one of the Funds who are the




                                                                   Appx. 01512
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                                   Norris - Cross                      44

      1   Movants here, right?

      2   A   That is correct.

      3   Q   And the percentages below that show the percentage of the

      4   preference shares of each of the CLOs that that particular

      5   fund holds; is that right?

      6   A   That's right.

      7   Q   And then the third column relates to NexPoint Strategic

      8   Opportunities Fund, one of the Movants here; is that right?

      9   A   That's correct.

     10   Q   And the next column, the fourth column, relates to

     11   NexPoint Capital, Inc.'s holding of preference shares in the

     12   15 CLOs, right?

     13   A   That's right.

     14   Q   So, NexPoint Capital doesn't hold any preference shares in

     15   any of the CLOs except for a less-than-one-percent interest in

     16   Grayson; am I reading that correctly?

     17   A   Yes, that's correct.

     18   Q   Okay.   And then the last column is intended to show the

     19   aggregate portion or percentage of preference shares that the

     20   three moving Funds have in each of the 15 CLOs; is that right?

     21   A   Yes, that's right.

     22   Q   Okay.   Am I reading this correctly that, for 12 of the 15

     23   Funds, the moving Funds own less than a majority of the

     24   outstanding preferred shares?

     25   A   Yes, that's correct.




                                                                   Appx. 01513
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                                   Norris - Cross                       45

      1   Q    And is it also -- am I also reading this correctly to

      2   conclude that the moving Funds owned less than 70 percent of

      3   every one of these CLOs; is that right?

      4   A    That's correct.

      5   Q    You don't know who owns the preferred shares in the CLOs

      6   that are not owned by the Movant Funds, do you?

      7   A    I don't know any -- any specific owners.

      8   Q    And some of these CLOs still have notes that are

      9   outstanding; is that right?

     10   A    Yes.    Very small amounts as a percentage of the overall

     11   CLO original capital structure, but yes, some still have small

     12   --

     13   Q    So, --

     14   A    -- notes.    Small amounts of notes.

     15   Q    Okay.    I'm sorry to interrupt.    If we looked at Exhibit A,

     16   if we took the time to look at Exhibit A, Exhibit A would

     17   show, for each of the 15 CLOs, which of those CLOs still had

     18   notes outstanding and the amount of out -- the dollar value of

     19   those notes.     Is that right?

     20   A    That's correct.

     21   Q    Okay.    And your understanding is that -- your

     22   understanding -- withdrawn.       The payment -- the distributions

     23   from the CLOs are made pursuant to a waterfall; is that right?

     24   A    Yes, that's correct.

     25   Q    And your understanding of the waterfall process is that




                                                                    Appx. 01514
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                                   Norris - Cross                        46

      1   the notes that are still outstanding at any CLO must be paid

      2   -- must be paid in full before the preferred shares receive

      3   any recovery; is that right?

      4   A    So, I would say that my understanding is slightly

      5   different.    It's going to be dependent on each indenture.

      6   But, in general, interest payments are made to the debt

      7   holders, and anything extra is then allocated to the equity.

      8   But ultimate recovery, to your point, would be once those --

      9   once the debt is paid off.    And that's the critical thing

     10   here, where the preference shares here now with most of these

     11   CLOs almost all the way wound down, with the exception of a

     12   small piece of debt.    The equity owns the lion's share of the

     13   economic interest of every one of these CLOs.     And I think

     14   that's important.

     15   Q    Okay.    Some of the CLOs still have outstanding notes.    Is

     16   that right?

     17   A    Yes.    As we discussed on -- Exhibit A will have the notes

     18   that are -- that are remaining on those.

     19   Q    And you don't know who holds the notes in the other CLOs,

     20   right?

     21   A    I don't.

     22   Q    The only holders of preferred shares that are pursuing

     23   this motion are the three Funds managed by the Advisors,

     24   right?

     25   A    In this motion, yes.




                                                                   Appx. 01515
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                                  Norris - Cross                       47

      1   Q   You're not aware of any holder of preferred shares

      2   pursuing this motion other than the three Funds managed by the

      3   Advisors, correct?

      4   A   No, I'm not aware of any others.

      5   Q   You didn't personally inform any holder of preferred

      6   shares, other than the Funds that are the Movants, that this

      7   motion would be filed, did you?

      8   A   No, I did not.

      9   Q   You're not aware of any steps taken by either of the

     10   Advisors to provide notice to holders of preferred shares that

     11   this motion was going to be filed, are you?

     12   A   I'm not, no.

     13   Q   And you're not aware of any attempt that was made to

     14   obtain the consent of all of the holders of the preferred

     15   shares to seek the relief sought in this motion, correct?

     16   A   That's correct.

     17   Q   You don't have any personal knowledge, personal knowledge,

     18   as to whether any holder of preferred shares other than the

     19   Funds managed by the Advisors wants the relief sought in the

     20   motion, correct?

     21   A   Correct.

     22   Q   You don't have any personal knowledge as to whether any of

     23   the CLOs that are subject to the contracts that you described

     24   want the relief that's being requested in this motion, right?

     25   A   That's correct.   I have not spoken or been involved at all




                                                                   Appx. 01516
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                                  Norris - Cross                       48

      1   directly with the CLOs.   I'm representing the Funds.

      2   Q   Okay.   Now, two of the Funds, two of the three Movant

      3   Funds, I believe you testified are publicly traded; is that

      4   right?

      5   A   That's correct.

      6   Q   And that's the Highland Income Fund and the NexPoint

      7   Strategic Opportunities Fund; is that right?

      8   A   That's right.   That's right.

      9   Q   And because they are publicly-traded, the shareholders in

     10   those two funds can sell their shares any time the market is

     11   open; is that right?

     12   A   If they're willing to take the price that the market is

     13   willing to give, yes.

     14   Q   Yes.

     15   A   Between market hours.

     16   Q   And if they -- if they don't like the way the assets that

     17   are -- that the Funds have been invested, one of the things

     18   they could do is simply sell their shares, right?

     19   A   Yes.

     20   Q   And the third fund, the shareholders in the third fund

     21   have the right to sell out not on a public market but on a

     22   quarterly basis; is that right?

     23   A   Correct.

     24   Q   That third Movant Fund is NexPoint Capital; do I have that

     25   right?




                                                                   Appx. 01517
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                                  Norris - Cross                        49

      1   A   Correct.

      2   Q   So they also have the ability to exit if they don't like

      3   management on a quarterly basis; is that right?

      4   A   Correct.

      5   Q   All right.   Can we turn to Paragraph -- Paragraphs 8 and 9

      6   of your declaration?   Okay.   Paragraph 8 describes a

      7   transaction that's been referred to as OmniMax; is that right?

      8   A   Yes.

      9   Q   And Paragraph 9 refers to a transaction involving SSP

     10   Holdings, LLC; do I have that right?

     11   A   That's correct.

     12   Q   Do you know what SSP stands for?

     13   A   See if we say it in there.    SSP Holdings, LLC.

     14   Q   Right.    Do you know what SSP stands for?

     15   A   I don't.   Something Steel Products.    I --

     16   Q   Okay.    You don't need to guess.    These are the only two

     17   transactions that the Movants question; is that right?

     18   A   These transactions, as well as certain transactions around

     19   Thanksgiving time.

     20   Q   Okay.    We'll talk about those.    But those transactions

     21   about -- around Thanksgiving time aren't in your declaration,

     22   are they?

     23   A   Not specifically mentioned by name.

     24   Q   Okay.    Let's talk about the two that are mentioned by

     25   name, Trussway and SSP.   The Movants do not contend that




                                                                   Appx. 01518
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                                  Norris - Cross                        50

      1   either transaction was the product of fraudulent conduct, do

      2   they?

      3   A    No.

      4   Q    The Movants do not contend that the Debtor breached any

      5   agreement by effectuating these transactions, do they?

      6   A    I don't believe so.

      7   Q    In fact, the Movants do not contend that the Debtor

      8   violated any agreement at any time in the management of the

      9   CLOs listed on Exhibit B; is that right?

     10   A    That's right.

     11   Q    The Movants don't even question the Debtor's business

     12   judgment, only the results of the trans -- of these two

     13   transactions.   Is that right?

     14   A    That's right.   And results is the key here and the

     15   approach.

     16   Q    I see.   And the reason the Movants do not question the

     17   Debtor's business judgment is because you don't know what

     18   factor or factors the Debtor considered in executing these

     19   transactions, right?

     20   A    That's right.   I can't look into the mind or know the

     21   business judgment and the inputs that went into this.      We do

     22   know the outcomes.   And to us, that's troubling, right, as the

     23   owners of the lion's share or the majority or even significant

     24   amounts of the economic ownership of the CLOs.     And having

     25   insight into those transactions, as mentioned in my statement,




                                                                   Appx. 01519
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                                     Norris - Cross                       51

      1   really just trying to maximize recoveries for our Funds.

      2               MR. MORRIS:   Your Honor, I move to strike the portion

      3   of his answer following that which was responsive to the

      4   question.

      5               THE COURT:    All right.   I grant that motion.

      6               MR. MORRIS:   Okay.

      7   BY MR. MORRIS:

      8   Q   Sir, you never asked the Debtor what factors it considered

      9   in making these trades, right?

     10   A   I did not.

     11   Q   And you have no reason to believe that anyone on behalf of

     12   the Movants ever asked the Debtor why it executed these

     13   trades, right?

     14   A   I don't have any knowledge.        There could have been

     15   somebody from -- from the Movants.       But I did not.

     16   Q   Okay.     On OmniMax, the Movants disagree with the price at

     17   which the Debtor effectuated the trade, right?

     18   A   Correct.

     19   Q   And I believe there was a meeting of the boards of the

     20   Funds back in August at which Mr. Seery appeared.         Do I have

     21   that right?

     22   A   I believe it was August, but he did appear.

     23   Q   And the purpose of the appearance was so that Mr. Seery

     24   could give an update on the bankruptcy; is that right?

     25   A   That's correct, and on the services provided by Highland




                                                                      Appx. 01520
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                                   Norris - Cross                         52

      1   Capital Management, LP to our Advisor.      Advisors.   They

      2   provide various shared services.

      3   Q   And it was during that meeting that Mr. Seery forthrightly

      4   told the boards the price at which he was planning to execute

      5   the OmniMax transaction, correct?

      6   A   Correct.

      7   Q   The transaction hadn't yet occurred, right?

      8   A   I'm not sure if it had been finalized.      He had a price,

      9   and these -- these things are negotiated.     This was, I

     10   believe, a company in restructuring.      So I don't know whether

     11   it had been transacted or not.

     12   Q   Okay.    The board didn't ask Mr. Seery not to execute the

     13   transaction, did it?

     14   A   Not to my knowledge.    The board wouldn't -- I don't think

     15   the board would have that authority, either.

     16   Q   Okay.    But it's here asking the Court to cause the Debtor

     17   to pause in the execution of any trades in the CLOs; is that

     18   right?

     19   A   I think the order speaks in that regard.

     20   Q   Yeah.    Okay.   Let's talk about the SSP transaction for a

     21   moment.    It's your understanding that Trussway Holdings, LLC

     22   owned a majority interest in SSP Holdings, LLC, right?         That's

     23   in Paragraph 9.

     24   A   Yes.    The statement in Paragraph 9 is what I believe is

     25   correct.




                                                                    Appx. 01521
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                                   Norris - Cross                          53

      1   Q   Okay.     And it's also your understanding that Trussway is a

      2   wholly-owned subsi... I'm sorry, that SSP Holdings is a

      3   wholly-owned subsidiary -- withdrawn.       It's also your

      4   understanding that Trussway is a wholly-owned subsidiary of

      5   the Debtor, right?

      6   A   Yes.

      7   Q   But Trussway is not a debtor in bankruptcy, right?

      8   A   I'm not sure.

      9   Q   Okay.     You have no reason to believe that; is that fair?

     10   A   That it's not a debtor in bankruptcy?       That Trussway is

     11   not in bankruptcy itself?

     12   Q   Correct.

     13   A   Yeah.     I have no knowledge of Trussway's situation.

     14   Q   Okay.     But you -- but according to your declaration that

     15   was prepared by the Advisors' management team, Trussway and

     16   not the Debtor owned SSP Holdings, LLC.       Is that right?

     17   A   I'm looking here at the statement just to make sure.

     18   Q   Sure.

     19       (Pause.)

     20   A   I -- again, I -- the statement is correct, and I believe

     21   speaks for itself regarding entity ownership.

     22   Q   The only things you know about the SSP transaction are,

     23   one, that you believe it was made without a formal bidding

     24   process; and two, that it resulted in a $10 million loss.         Is

     25   that right?




                                                                       Appx. 01522
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                                  Norris - Cross                       54

      1   A    Correct.

      2   Q    Okay.   But, again, neither you, or to the best of your

      3   knowledge, anybody at Advisors, ever spoke with anybody at the

      4   Debtor about the circumstances concerning either of the

      5   transactions, right?

      6   A    I don't know the conversations that were had at anyone

      7   else from our Advisors, but this is the knowledge that -- that

      8   I have.

      9   Q    Okay.   And it's the only knowledge you have, right?    You

     10   don't know anything about the SSP transaction other than those

     11   two facts, right?

     12   A    Correct.

     13   Q    In fact, I think you testified yesterday that you've been

     14   very remote from the SSP transaction, right?

     15   A    That's correct.

     16   Q    And that it's not a transaction that you have much

     17   knowledge on.   Fair?

     18   A    Fair.

     19   Q    Let's just talk briefly about the transactions that

     20   occurred (garbled) Thanksgiving.    They're not specifically

     21   referred to in your declaration; is that right?

     22   A    That's correct.

     23   Q    And you have no knowledge about any transaction that Mr.

     24   Seery wanted to execute around Thanksgiving; is that right?

     25   A    I know there were transactions and there were concerns




                                                                   Appx. 01523
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                                    Norris - Cross                            55

      1   from our management team, but I'm not aware of what the

      2   transactions were.

      3   Q   In fact, you can't even identify the assets that Mr. Seery

      4   wanted to sell around Thanksgiving, or at least you couldn't

      5   at the time of your deposition yesterday.       Is that right?

      6   A   That's correct.

      7   Q   And you have no knowledge as to why Mr. Seery wanted to

      8   make those particular trades at around Thanksgiving?

      9   A   No, I don't.

     10   Q   And in fact, you don't even know if the transactions that

     11   Mr. Seery wanted to close around Thanksgiving ever in fact

     12   closed.   Is that fair?

     13   A   Correct.

     14   Q   Okay.    Let's just -- let's just finish up with a few

     15   questions about the boards.

     16               MR. MORRIS:   Ms. Cantey, can we put up Debtor's

     17   Exhibit EEEE?    Four E's, Your Honor.     Thank you.

     18   BY MR. MORRIS:

     19   Q   This particular page identifies the directors for each of

     20   the three Movant Funds; is that right?

     21   A   Let me take a look and confirm.        (Pause.)   Yes.   That

     22   looks correct.

     23   Q   Okay.    And this was prepared by the Movants; is that

     24   right?

     25   A   I'm not sure who prepared it.




                                                                       Appx. 01524
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                                   Norris - Cross                        56

      1   Q    Okay.   To the best of your knowledge, does this document

      2   accurately reflect the composition of the boards of each of

      3   the three Movant Funds?

      4   A    Yes, it does.

      5   Q    Okay.   John Honis, I think you mentioned him earlier.

      6   He's on all three boards.    Is that right?

      7   A    That's correct.    And the reason being we have a unitary

      8   board structure, so -- which is very common in '40 Act Fund

      9   land, where the board sits, for efficiency purposes, on

    10    multiple fund boards, and there's a lot of economies of scale

    11    from an operating standpoint.    So, yes, they sit on multiple

    12    boards.

    13    Q    Okay.   And for purposes of the '40 Act, Mr. Honis has been

    14    deemed to be an interested trustee.    Is that right?

    15    A    That's correct.

    16    Q    Okay.   But you don't specifically know what facts caused

    17    that designation; you only know that the designation exists.

    18    Right?

    19    A    That's right.    And I know they are disclosed in the proxy

    20    -- or, in the -- the relative filings related to those Funds.

    21    Q    Okay.   Three other people are common to all three of the

    22    Movant Funds.     I think you've got Dr. Froehlich, Ethan Powell,

    23    --

    24    A    Froehlich.

    25    Q    Froehlich.    Ethan Powell and Bryan Ward.   Right?




                                                                     Appx. 01525
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                                  Norris - Cross                       57

      1   A   That is correct.

      2   Q   Okay.    All three of those individuals actually serve on

      3   the 11 or 12 boards that you mentioned earlier that are

      4   managed by the Advisors, right?

      5   A   Yes, that is correct.

      6   Q   And they're the same Funds for which you serve as an

      7   executive vice president, right?

      8   A   Yes.    That's correct.

      9   Q   So, for all of the Funds that are managed by the Advisors,

     10   you serve as executive vice president and all four of these

     11   directors -- trustees serve as trustees on the boards, right?

     12   A   Yes, that's correct.

     13   Q   Okay.    In exchange for serving on all of these boards, the

     14   three individuals -- Dr. Froehlich, Mr. Ward, and Mr. Powell

     15   -- each receive $150,000 a year for services across the

     16   Highland complex; is that right?

     17   A   That's correct.

     18   Q   Dr. Froehlich has been serving as a board member across

     19   the Highland complex for seven or eight years now; is that

     20   right?

     21   A   That's correct.

     22   Q   Mr. --

     23   A   I believe it's about seven or eight years.

     24   Q   And Mr. Powell, he actually was employed by Highland or

     25   related entities from about 2007 or 2008 until 2015, right?




                                                                   Appx. 01526
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                                   Norris - Cross                      58

      1   A   That's correct.

      2   Q   And Mr. Ward, the third of the independent trustees, he's

      3   been serving as a board member on various Highland-related

      4   funds on a continuous basis since about 2004.     Do I have that

      5   right?

      6   A   Yeah, I believe that's correct.

      7   Q   Okay.    Just a couple of final questions.    You would agree,

      8   would you not, sir, that portfolio managers have an obligation

      9   to effectuate transactions concerning the assets that they

     10   manage based on their business judgment?

     11   A   Yes.    And in accordance with whatever governing documents

     12   govern the fund structure.

     13   Q   And you would personally expect a portfolio manager to

     14   execute a transaction that he or she reasonably believes in

     15   good faith and in their business judgment would maximize value

     16   for the CLO, even if the CLO did not need cash at that

     17   particular time.    Is that right?

     18   A   I think it would come down to the governing documents.

     19   And I think what you're getting at here is, in this instance,

     20   these sales and the intent of the portfolio manager.     And our

     21   view, again, is -- and the request for the motion is simply

     22   there is a lot at play here.    Several negotiations.   And in

     23   order to maximize returns, simply asking for a pause on

     24   transactions.

     25   Q   All right.     Let me -- let me ask the question again, and I




                                                                   Appx. 01527
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                                     Norris - Cross                       59

      1   would ask that you please listen carefully to the question.

      2   You would expect a portfolio manager would execute a

      3   transaction that he or she believes maximizes value, even if

      4   the CLO didn't need cash at that particular moment in time.

      5   Correct?

      6   A   Yeah.    As long as that is maximizing value for the

      7   stakeholders, and in the instance of a CLO, the economic

      8   interest is owned by the equity holders.         So, to their

      9   benefit, yes, that -- that would be the idea.

     10               MR. MORRIS:    Your Honor, I have no further questions.

     11               THE COURT:    Any redirect, Mr. Wright?

     12               MR. WRIGHT:    Only briefly, Your Honor.

     13                             REDIRECT EXAMINATION

     14   BY MR. WRIGHT:

     15   Q   Mr. Norris, I think you were asked at one point about how

     16   long you'd been working for Highland Capital Management, which

     17   there's -- there's Highland Capital Management Fund Advisors

     18   and then there's Highland Capital Management, LP, Debtor.        And

     19   I wanted to give you an opportunity to just explain when and

     20   what years you worked for HCMLP and then when and what years

     21   you worked for NexPoint Advisors or Highland Capital

     22   Management Fund Advisors.

     23   A   Yes.    From June 2010, I was employed by Highland Capital

     24   Management, LP, until July or August of 2012, at which time I

     25   was then hired by Highland Capital Management Fund Advisors,




                                                                      Appx. 01528
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                                    Norris - Redirect                        60

      1   not HCML -- no longer employed by HCMLP, and have worked since

      2   that time for HCMFA and NexPoint Advisors and not for the

      3   Debtor, HCMLP.

      4   Q   Okay.    So -- and I'm sorry if I missed a year, but it's

      5   been about ten years since you had worked for HCMLP or been an

      6   employee of HCMLP, correct?

      7   A   Yeah.    It's been over eight years since I have left

      8   employment by HCMLP.      Ten and a half years ago, I started

      9   working for HCMLP, and then two years after that transitioned

     10   away and started working for the Advisors that are part of

     11   this motion.

     12   Q   Thank you for clarifying.

     13               MR. WRIGHT:    Your Honor, I hope -- you directed us to

     14   have a witness here today, and so we do.        And I know that you

     15   had asked me at the last hearing some questions about the

     16   involvement of people at HCMLP, which I tried to address with

     17   Mr. Norris in my direct.      But I, you know, I do want to make

     18   sure that we've answered any questions that you have.

     19               THE COURT:    All right.   Yes, that's fine.   Are you

     20   -- does that conclude your redirect?

     21               MR. WRIGHT:    It does, Your Honor.

     22               THE COURT:    Any recross, Mr. Morris, on that

     23   redirect?

     24               MR. MORRIS:    No, thank you, Your Honor.

     25               THE COURT:    All right, then.    That concludes the




                                                                      Appx. 01529
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                                                                         61

      1   testimony of Mr. Norris.

      2       Any other evidence, Mr. Wright?

      3             MR. WRIGHT:   I do not, Your Honor, although I guess I

      4   would offer the Exhibit A and Exhibit B to Mr. Norris's

      5   declaration --

      6             THE COURT:    Any objection to that?

      7             MR. WRIGHT:   -- into evidence.

      8             MR. MORRIS:   No, Your Honor.

      9             THE COURT:    All right.   Those are admitted.

     10       (Movants' Exhibits A and B are received into evidence.)

     11             THE COURT:    All right.   Well, Mr. Morris, did you

     12   want to put on any evidence?

     13             MR. MORRIS:   Does the -- do the Movants rest, Your

     14   Honor?

     15             THE COURT:    I understood that they rest.   Correct,

     16   Mr. Wright?

     17             MR. WRIGHT:   That's correct, Your Honor.

     18             MR. MORRIS:   Your Honor, I would move, effectively,

     19   for a directed verdict here.    The Movants have the burden of

     20   establishing a prima facie case to entitlement to the relief

     21   that's been requested, and they have failed to meet that

     22   burden.   The Debtor has -- we -- the undisputed facts are the

     23   Debtor has the contractual right, and indeed, the obligation,

     24   to serve as the portfolio manager of the CLOs pursuant to

     25   written agreements.




                                                                     Appx. 01530
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                                                                           62

      1        The Movants are not parties to those agreements.      The

      2   testimony is undisputed that there are many holders of

      3   preferred shares and notes that have had no notice of this

      4   proceeding that will undoubtedly be impacted by the tying of

      5   the hands of the portfolio manager.    The chart that was

      6   attached as Exhibit B expressly shows just what a large

      7   portion of interested parties and people who would be affected

      8   by this motion are not -- they didn't get notice.     There was

      9   no attempt to get notice.   There was no attempt to get their

     10   consent.    All of that testimony is now in the record, and I

     11   think due process alone would prevent the entry or even the

     12   consideration of an order of this type.

     13        There is nothing improper that's been alleged.     There is

     14   no -- there is no allegation of fraud.      There is no allegation

     15   of breach of contract of any kind.    There's not even a

     16   question of business judgment.    The Movants didn't even do

     17   their diligence to ask the Debtor why they made these

     18   transactions.   There is nothing in the record that shows that

     19   the Debtor, as the portfolio manager of the CLOs, did anything

     20   improper.

     21        The only thing that the Movants care about is that they

     22   don't like the results in two particular trades.     I don't

     23   think that that meets their burden of persuasion that the

     24   Court should enter an order of this type, and I would like to

     25   relieve Mr. Seery of the burden, frankly, and the Court, of




                                                                   Appx. 01531
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                                                                       63

      1   having to put on testimony to justify transactions that really

      2   aren't even being questioned, Your Honor.

      3       So the Debtor would respectfully move for the denial of

      4   the motion and the relief sought therein.

      5              THE COURT:   All right.   Your request for a directed

      6   verdict, something equivalent to a directed verdict here, is

      7   granted.   I agree that the Movant has wholly failed to meet

      8   its burden of proof here today to show the Court, persuade the

      9   Court that, as Mr. Morris said, I should essentially tie the

     10   hands of the Debtor as a portfolio manager here, as stated.

     11   Nothing improper has been alleged.     There has been no showing

     12   of a statutory right here, or a contractual right here, on the

     13   part of the Movants.

     14       I am -- I'm utterly dumbfounded, really.      I agree with the

     15   -- I was going to say innuendo; not really innuendo -- I agree

     16   with part of the theme, I think, asserted by the Debtor here

     17   today that this is Mr. Dondero, through different entities,

     18   through a different motion.    I feel like he sidestepped the

     19   requirement that I stated last week that if we had a contested

     20   hearing on his motion, Dondero's motion, that I was going to

     21   require Mr. Dondero to testify.      He apparently worked out an

     22   eleventh hour agreement with the Debtor on his motion to avoid

     23   that.   But, again, these so-called CLO Motions very clearly,

     24   very clearly, in this Court's view, were pursued at his sole

     25   direction here.




                                                                   Appx. 01532
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                                                                           64

      1       This is almost Rule 11 frivolous to me.       You know, we're

      2   -- we didn't have a Rule 11 motion filed, and, you know, I

      3   guess, frankly, I'm glad that a week before the holidays begin

      4   we don't have that, but that's how bad I think it was, Mr.

      5   Wright and Mr. Norris.     This is a very, very frivolous motion.

      6   Again, no statutory basis for it.     No contractual basis.      You

      7   know, you didn't even walk me through the provisions of the

      8   contracts.   I guess that would have been fruitless.     But you

      9   haven't even shown something equitable, some lack of

    10    reasonable business judgment.

    11        Bluntly, don't waste my time with this kind of thing

    12    again.   You wasted my time.   We have 70 people on the video.

    13    Utter waste of time.

    14        All right.     So, motion is denied.    Mr. Morris, please

    15    upload an order.

    16              MR. MORRIS:    Thank you, Your Honor.

    17              THE COURT:    All right.   Do we have any other business

    18    to accomplish today?

    19              MR. POMERANTZ:    I don't think so, Your Honor.     I know

    20    we will see you tomorrow in connection with Mr. Daugherty's

    21    relief from stay motion.

    22              THE COURT:    Well, yeah, we do have that.    Okay.    We

    23    will see you tomorrow.     We stand adjourned.

    24              MR. CLEMENTE:    Thank you, Your Honor.

    25              MR. MORRIS:    Thank you, Your Honor.




                                                                    Appx. 01533
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                                                                       65

      1             THE CLERK:   All rise.

      2             (Proceedings concluded at 3:05 p.m.)

      3                                --oOo--

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     19                              CERTIFICATE

     20        I certify that the foregoing is a correct transcript from
          the electronic sound recording of the proceedings in the
     21   above-entitled matter.
     22     /s/ Kathy Rehling                                12/17/2020

     23   ______________________________________           ________________
          Kathy Rehling, CETD-444                              Date
     24   Certified Electronic Court Transcriber
     25




                                                                   Appx. 01534
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